                Case 17-23640-EPK          Doc 69      Filed 11/21/19     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

In re:                                                      Case No. 17-23640-EPK
         Shawn Thompson
         Marcen Morris
                  Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Robin R. Weiner, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 11/10/2017.

         2) The plan was confirmed on 05/14/2018.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/18/2019.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/26/2019, 07/26/2019.

         5) The case was dismissed on 09/13/2019.

         6) Number of months from filing to last payment: 17.

         7) Number of months case was pending: 24.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
                    Case 17-23640-EPK                  Doc 69     Filed 11/21/19          Page 2 of 3




Receipts:

          Total paid by or on behalf of the debtor                      $21,095.04
          Less amount refunded to debtor                                     $0.00

NET RECEIPTS:                                                                                              $21,095.04


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                           $2,266.68
    Court Costs                                                                         $0.00
    Trustee Expenses & Compensation                                                   $965.81
    Other                                                                               $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                            $3,232.49

Attorney fees paid and disclosed by debtor:                           $1,000.00


Scheduled Creditors:
Creditor                                                   Claim       Claim            Claim        Principal      Int.
Name                                           Class     Scheduled    Asserted         Allowed         Paid         Paid
At&t Corp                                  Unsecured             NA        824.17           824.17           0.00       0.00
INNOVATE LOAN SERVICING                    Unsecured             NA           NA               NA            0.00       0.00
INNOVATE LOAN SERVICING                    Unsecured             NA    20,272.00          7,322.00           0.00       0.00
INNOVATE LOAN SERVICING                    Secured               NA    12,950.00        16,349.38       2,837.18        0.00
Lvnv Funding, LLC                          Unsecured             NA        754.38           754.38           0.00       0.00
Lvnv Funding, LLC                          Unsecured             NA        367.25           367.25           0.00       0.00
Midland Funding, LLC                       Unsecured             NA      1,364.68         1,364.68           0.00       0.00
Navient Solutions, INC.                    Unsecured             NA      5,217.02         5,217.02           0.00       0.00
Navient Solutions, LLC                     Unsecured             NA    16,433.46        16,433.46            0.00       0.00
Portfolio Recovery Associates, LLC         Unsecured             NA      3,226.95         3,226.95           0.00       0.00
Premier Bankcard, LLC                      Unsecured             NA        446.12           446.12           0.00       0.00
Rita Fowler                                Unsecured             NA      1,063.50         1,063.50           0.00       0.00
State of Florida - Department of Revenue   Unsecured             NA        100.00           100.00           0.00       0.00
State of Florida - Department of Revenue   Priority              NA      1,915.50         1,815.50           0.00       0.00
State of Florida - Department of Revenue   Priority              NA    30,945.65        30,945.65       2,450.85        0.00
State of Florida - Department of Revenue   Priority              NA          0.00       31,080.04      10,123.67        0.00
State of Florida - Department of Revenue   Priority              NA    45,018.40        45,018.40       2,450.85        0.00
State of Florida Disb. Unit                Priority              NA           NA               NA            0.00       0.00
US Dept of Education                       Unsecured             NA   111,336.97       111,336.97            0.00       0.00




UST Form 101-13-FR-S (09/01/2009)
                Case 17-23640-EPK            Doc 69      Filed 11/21/19      Page 3 of 3




 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00              $0.00
       Mortgage Arrearage                                      $0.00              $0.00              $0.00
       Debt Secured by Vehicle                            $16,349.38          $2,837.18              $0.00
       All Other Secured                                       $0.00              $0.00              $0.00
 TOTAL SECURED:                                           $16,349.38          $2,837.18              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00              $0.00               $0.00
        Domestic Support Ongoing                         $62,025.69         $12,574.52               $0.00
        All Other Priority                               $46,833.90          $2,450.85               $0.00
 TOTAL PRIORITY:                                        $108,859.59         $15,025.37               $0.00

 GENERAL UNSECURED PAYMENTS:                            $148,456.50                 $0.00            $0.00


Disbursements:

         Expenses of Administration                             $3,232.49
         Disbursements to Creditors                            $17,862.55

TOTAL DISBURSEMENTS :                                                                       $21,095.04


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/21/2019                             By:/s/ Robin R. Weiner
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
